 

‘ Case 3:12-cV-02322-LAB-.]I\/|A Documentl Filed 09/24/12 Page|D.l Page 10126

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Abraharn J. Colman (SBN 146933) .

2 Emai_l: _acolman@reedsmith.com lz SEP 211 PH l' 55
Raagml Shah (S N 26_8022) ,.*,1_15::¥. 113.m.»'»1'm<:1 comm

3 Emall: rshal'l@reedsmlth’eorrl. '.»`,1-1!'.1.;".‘{ '.,`§`.,1`}11(.'1 §§ C.`.Li'rUi'lH{.‘.
355 South Grand Avenue, Sulte 2900 '

4 Los Angeles, CA 90071-1514

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.___j 5 Facslmile: +l 213 457 8080
"Q: 6 Attorneys for Defendant
'j;;” FIA Card Services N.A.
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59 UNITED STATES DIS'I'RICT COURT
10 soUTHERN DISTRICT cALIFORNlA
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§ 11
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§ 12 FRANK ANTONIO coRc)NA, case No. 1 ZCVZ. 3 2 2 LAB JMA
§ § ROSALIE J. CORONA, and _ '
§ § 13 FRANCESCA CORONA, Removal from Supenor Co\_lrt of
§ § alifornia, Coun of San D1e 0 Case
g § 14 Plaintiff, No. 37-2012-001 2808-CU- -CTL]
§ § 15 vs. NOTICE OF REMOVAL OF CIVIL
§ ACTION UNDER 28 U.S.C. § 1441(b)
3 16 FIA CARD SERVICES N.A. and Does 1 AND (c)
§ through 100,
“ 17 , [FEDERAL QUESTION]
8 Defendants.
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Complaint Filed: August 22, 2012
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NOTlCE OF REMOVAL CF CIVIL ACTION UNDER 28 U.S.C. §§ 1331, 1367 AND 1441

 

 

 

REED SMITH LLP
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Fse 3:12-cV-02322-LAB-.]I\/|A Documentl Filed 09/24/12 Page|D.Z Page 201c 26

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that Defendant FIA CARD SERVICES N.A. (“FIA”)
hereby removes this action described below from the Superior Court of California for
the county of San Diego to the United States District Court for the Southern District of
California, pursuant to Sections 1331, 1441 (b) and (c), and 1446 of Title 28 of the
United States Code (“U.S.C.”). The removal is based on the following:

I. REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER

JURISDICTION PURSUANT TO 28 U.S.C. SECTIONS 1331 AND 1441

1. On August 22, 2012, Plaintift`s Frank Antonio Corona, Rosalie J. Corona,
and Francesca Corona (“Plaintiffs”) filed a complaint (“Complaint”) against FIA in
the Superior Court of the State of California for the County of San Diego, entitled
Frank Antonio Corona et al v. FIA Card Services N.Aj Case No. 37-2012-00102808-
CU-NP-CTL (hereinafter, the “State Court Action”). The Complaint alleges (1)
Violation of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code Section
1788 et seq.; (2) Violation of the Telephone Consumer Protection Act (“TCPA”), 47
U.S.C. Section 227 et seq`; and (3) Intrusion. The Complaint and Summons are
attached hereto as Exhibit A, as required by 28 U.S.C. §1446(a).

2. This action is a civil action over which this Court has original jurisdiction
under 28 U.S.C. § 1331, and is one Which may be removed to this Court pursuant to
28 U.S.C. § 1441(b) in that it is a civil action arising under the laws of the United
States, specifically the TCPA. See Mims v. Arrow Financz'al Services LLC, 132 S. Ct.
740 (2012) (holding that federal question jurisdiction exists for cases alleging
violation of the TCPA).

3. This Court also has supplemental jurisdiction over Plaintift’ s state claims
as these claims arise from the same core operative facts relating to FIA’s alleged

violations of the TCPA. Accordingly, Plaintiff's state law claims are related to

 

 

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NOTlCE 0F REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §§ 1331, 1367 AND 1441

 

 

 

 

 

 

 

 

Case 3:12-cV-02322-LAB-.]I\/|A Document 1 Filed 09/24/12 Page|D.S Page 3 of 26
1 Plaintifi’ s federal question claims, and thereby form a part of the same case and
2 controversy pursuant to 28 U.S.C. § 1367(a).
3 II. TI-IE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED
4 4. FIA was served with the Complaint on August 23, 2012.`
5 5.' This Notice of Removal is timely in that it is filed within thirty (3 0) days
6 from the point at which FIA had notice that the action was removable, and less than a
7 year after the commencement of the state court action. §e_e 28 U.S.C. § 1446(b). See
8 also Yanz`k v. Countrywide Home Loans, Inc., CV 10-6268 CAS, 2010 WL 4256312,
9 *3 at fn 6 (C.D. Cal. Oct. 18, 2010) (holding that if 30-day deadline to remove falls on
10 a weekend, removal deadline extends to next court date); see also Fed. R. Civ. P. 6(a).
§ 11 6. The Superior Court of California for the County of San Diego is located
a § 12 Within the United States District Court for the Southern District of California. §§§ 28
§ § 13 U.S.C. § 84(c)(2). Thus venue is proper in this Court because it is the “dist:rict and
g §§ 14 division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
§ § 15 7. The only defendant named in the Complaint is FIA. Accordingly, all
§ 16 named defendants consent to this removal.
§ 17 8. In compliance with 28 U.S.C. § 1446(d), FIA will serve on Plaintiff and
18 will file with the Clerk of the Superior Court for the County of San Diego, a written
19 “Notice to the Clerk of the Superior Court of the County of San Diego and To
20 Adverse Parties of Filing of Notice of Removal of Civil Action to Federal Court,”
21 attaching a copy of this Notice of Removal and all supporting papers.
22 9. No previous application has been made for the relief requested herein.
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NOTICE oF REMOVAL 0F clvlL ACTloN uNDER 28 u.s.c. §§ 1331, 1367 AND 1441 _

 

 

 

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WI-IEREFCRE, FIA respecthllly removes this action from the California
Superior Court for the County of San Diego to this Court pursuant to 28 U.S.C. §§
1332, 1441 and 1446.

DATED: September 24, 2012

REED SMITH LLP

 

By
yKbraham J. Colman
Raagini Shah
Attorneys for FIA Card Services N. A.

 

 

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NOT[CE OF REMOVAL OF CW!L ACTION UNDER 28 U.S.C. §§ 1331, 1367 AND 1441

 

 

 

 

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summons . _ mm tv . -'
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a.o ssr/t DEMANoA~oo sr. oEMANoA~rE):
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:OTtCE! You have been sucd. The court rrm`y decide against you without your being heard unless you respond within 30 days. Rcad the information
elow.

You have 30 CALENDAR DAYS alter this summons and legal papers are served.on you to tile a written response at this court and have'a copy
served on the plaln£lfl. A latter or phone calt will not protect you. Yourwrirten response musl be ln proper legal lorm il you want the court to hear your
case. There may be a court lorm that you ran use for your response You can lind these court lorms and more information at the Colilomla Courts
Online Sell-r-lelp Center tmw.oounr'n!o ca.gov/sellhelp). your county law llbrary. or.the courthouse nearest you. lt you cannot pay the thing leo. ask
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(\vww.couninfo.ca.gov/s'elmolp). or by oor\tacting your local court or county bar association NC>TE: The court has a statutory lion lor`walvod lens and
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County of San Dicgo. Civil Division
330 Wcst Broad\v;\y, San l)icgo, CA 9210|

The name. address, and telephone number ol plaintiffs attomey. or plaintlll without an altomey, is: '
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NOTI¢E TG THE PERSON SERVED: You are served

[5““ 1. ['_':] as.an lndivldual defendant z

2. [_'_'] asyrthe person sued under the fictitious name ol {spadfy):

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2. This case [:] is [;/j is not complex under rule 3.400 of the Calllornia Rules of Court. ll the case ls complex, mark the
factors requiring exceptional judicial management
a. [:] Large number of separately represented parties d. m Large number of witnesses
b. m Extenslve motion practice raising dlftlcult or novel e. [:] Coordinatlon with related actions pending in one or more courts
issues that will be lime-consuming lo resolve in other counties slatcs. or countries or in a federal court
c. [:l Substantla| amount ol documentary evidence l. [:l Substantial postjudgment judicial supervision

3. Remedies'sough't (chock all that apply): a.[:Z] monetary b. [:l nonmonetary; declaratory or injunctive relief c -punltive
4. Number of causes of action (spocr`ly).' 3

5 This case [____1 ls - ls not a class action suit.

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|t` there are any known related cases file and serve "a notice 'ol related case (You may useorm form
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under the Probate Code. Faml|y Code or Wellare and institutions Code). (Cal. Rules ofCourt, nl|e 3 220. ) Failure to ila may result
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' l-“lle this cover sheet in addition to any cover sheet required by local court rule

» ll this case is complex under rule 3. 400 et seq. cl the Calilomia Rules ol Court you must serve a copy of this cover sheet on all
other parties to the action or proceeding

- Unless this' ls a collections case under n.tle 3 740 or a complex case this cover sheet wlll be used lor statistical purposes on .

    
   
 
  

 

 

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SUPER'IOR COURT OI" CALIFORNIA COUN'FY O.F SAN DlE~GO
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FR/\NK AN'l`ONlO CORONA, ROSALIE .l. Ci\$c N°'Z 31.2012-00102808¢0\|~|4?'071-

C()RONA and FRANCESCA CORONA.

P‘LAINT]FF'_ COMPLAINT FOR VIOLATIONS OF THE

ROSENTHAL FAIR DEBT COLLECTION
PRACT.ICES ACT (CCC SECTION
1788-1788.32); VIOLATIONS OF
THE TELEPHONE CONSUMER
PROTECTION ACT (4`7 U.S.C. §22'7
ET SEQ.); AND INTRSION'

\' .

l~`lA CARD SERVlCE-S,'N.A.'and Does l
through l00

DEFENDANTS.

Demand for Jur_v Trial

v v v\_¢vvv"/v`/`/V`/V\.J~_¢ v`\`¢ v`.d

 

C()MliS NOW PL.AlN'I`]FFS who seek damages against the l)EFEN DANTS. and each
ol` them as t'ollows:
vl. lN'l`RODUCTlON
l. The Calilomia legislature has determined that the banking and-credit system and grantors
ol` credit to consumers arc dependent upon thc collection ol`just and owing debts and that
unfair or deceptive collection practices undermine the public confidence that is essential

to the continued functioning of the banking and credit system and sound extensions ol`

Complaint
Corona \'. Fl.~\ Cnrd Ser\'iccs. ct. al. ~ l

 

 

 

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credit to consumers. The Legislaturc has further determined that there is a need to ensure
2 that debt collectors exercise this responsibility with fairness, honesty and due regard for
3 the debtor’s rights and that debt collectors must be prohibited from engaging in unfair or
deceptive acts or practices.

2. Frank Antonio Corona, Rosalie J. Corona and Francesca Corona, individually,

6
7 (hereinat°ter “PLAINTlI-`FS"’), by PLAINTlFF’s attorney, brings this action to challenge
a the actions of FIA CARD SERVICES, N.A. (hereinafter “FlA”), a business entity form
9 unknown and Does l through 100, (hereinafter FIA together with.Does l through 100
10 will be referred to as “DlZFENDANTS”), with regard to attempts by DEFENDANTS, a
: debt collector, to unlawfully and abusive|y collect a debt allegedly owed by
13 PLAI`NTIFFS, and this conduct caused FLAIN'I`IPFS damage.
14 3. For the purposes of this Complaint for Damages, unless otherwise indicated,
15 “DEFENDANTS" includes all agents, employees, officers, members, directors, heirs,
16 successors, assigns, principals, trustees, sureties, subrogees, representatives managing
:; agents and insurers of DEFENDANT($) named in this caption.
1 9
20 ` ' II. PART!ES
21 4. PLAINT[FFS are natural people who reside in the County of San Diego, State ot
:: Califomia and are obligated or allegedly obligated to pay a debt and are “consumersl’ aj
24 that term is defined by 15 U'.S.C. § l692a(3).

25 5. PLAINTIFFS are natural people from whom` a debt collector sought to collect at

25 consumer debt which was due and owing or alleged to be due and owing from

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Complaint
Corona v. FIA Card Scrviccs, et. al. - 2

 

 

 

 

 

 

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PLAINTIFFS and are “debtors” as that term is defined by Califomia Civil Code §,
2 1788.2(h).
3 6. PLAlNTlPFS are informed and believe that Def`endant, FlA, a business entity form

unknown, is a company operating and licensed to do business in San Diego County.
7. The identity and true names and capacities of the DEFENDANTS named herein as

DOES I through 100, inclusive and each of them are not known to PLAINTIFFS.

a PLAINTlFFS will amend this complaint to allege their true names and capacities when

9 ascertained. PLAINTI FI-`S are informed and believe and thereon allege that each of the
10 tictitious|y named DEFENDANTS are responsible in some way for the occurrences
:; alleged herein and that PLAINTlFliS damages as alleged herein were proximately caused
13 bythe conduct of each of these DEFENDANTS.

14 8. PLAINTIFFS are infomted and believe and thereon allege that each of the

15 DEI-`ENDANTS named herein is the agent, employee, servant and/or successor of the
16 remaining DEPENDANTS in that in doing the acts alleged herein said DEFENDANTS
:; were acting within the course and scope of said agency, employment. agency or

19 successorship.

20 9. PLAINTIFFS are informed and believe, and thereon allegc, that the DEFENDANTS are

21 entities that use instrumentalities of interstate commerce or'the mails for business the
:: principal purpose of which is the collection of any debts, or who regularly collects or
2 4 attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due
25 another and is a "debt collector" as that term is defined by Califomia‘ Civil Code j
26 .l 788.2(¢).

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Complaint
Corona v. FIA Card Savices, et. a.l. - 3

 

 

 

 

 

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10. PLAINTIFFS are informed and believe, and thereon allege, that DEFENDANTS are not
2 attorneys or counselors at law and are an entity who, in the ordinary course of business,

3 regularly, on behalf of themselves or others, engages in debt collection as that term ist

defined by California Civil Code § l.788.2(b), and is a “debt collector” as that term is

 

: defined by Califomia Civil Code § l788.2(c).

7 1 |. This case involves money, property or their equivalent, due or owing or alleged to be due
a or owing from a natural people by reason of a consumer credit transaction As such, thist f
9 action arises out of a “consumer deb ” and “consumer credit” as those terms are defined
10 by Cal. Civ.1 Code § 1788.2(f).
11

12
13 lII. FACTUAL ALL_§§ATIONS

14 12. At all times relevant, PLAINTIFFS were individuals residing within the State of

15 california

16 13. PLAINTIFFS are informed and believe, and thereon allege, that at all times relevant
:; DEFENDANTS conducted business in the State of Califom`ia.

19 14. PLAINTIFFS allegedly incurred a financial obligation that was primarily for personal,

20 -family or household purposes and is therefore a “debt” as that term is defined by 15

21 U.S.C. § 1692a(5) and Cal. Civ. Code § 1788.2(d). Namcly, the PLAlN'I`lFF allegedly
: incurred a FlA Credit Card used for the purchase of regular household consumer items.
24 l$. DEFENDANTS began and continued making calls on and off multiple times per day in
25 an attempt to collect this debt ii'om PLAINTIFFS.

26 16. On 1/17/2012 at 5:45 pm, PLAINTIFF ROSALIE J. CORONA answered a telephone callt

27 fi'om FIA. ROSALIE J. CORONA, spoke to a representative of FIA who identified

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Complaint
Corona v. FIA Card Servioes, et. al. - 4

 

 

 

 

 

 

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themselves as “Diane” during which time FRANK CORONA, made it clear to “Diane"

2 ofl~`lA that PlA did not have PLAINT!FFS permission to call any cellular phone.

3 17. On 1/17/2012 at 5:56 pm, (11 minutes after the previous phone ca11 to FRANK
CORONA), PLAINTIFF ROSALIE .'l. CORONA answered a telephone call from FIA.
ROSAL!E J , CORONA, spoke to a representative of FlA who identified themselves as
“Diane" during which time ROSALIE J. CORONA, made it clear to “Diane" of FLA that
a FIA did not have PLAINTIFFS permission to call any cellular phone.

9 l8. FlA then began to telephone Plaintiff, FRANCESCA CORONA, the mother of FRANK

10
CORONA, in order to harass her in an attempt to get FRANK CORONA and ROSALIE.

11
J. CORONA to satisfy their debt. After each phone call to FRANCESCA CORONA,

12
13 FRANK CORQNA telephoned FIA and instructed them to not call his mother,
14 FRANCI~[ESCA CORONA, anymore.

15 19. FIA telephoned FRANCESCA CORONA on three different occasions, ever after

16
FRANK CORONA, instructed not to do so.
17

18 20. Prior to 1/17/2012, FRANK CORONA and ROSAL[E J . CORONA, received no less

19 than 500 phone calls total. FIA would call the PLAINTIFFS three times per day, once to
20 FRANK CORONA’s cellular phone`, once to ROSALIE J.»CORONA’s cellular phone
21~ and once to their home phone line.

:: 21. DEI-`ENDANTS willfully and knowingly made no less than 300 phone calls to

24 PLAlN'I`IFFS’ cellular phones using an automatic phone dialer system.

25 22. PLAINTIFFS have never given any DEFENDANTS permission to call their cellular

25 phones and if DBFENDANTS did have-authorization, PLA[NTIFFS rescinded this

27 authorization on 1./17/2012.

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These collection communications on these occasions to PLAINTIFFS were false,
deceptive, harassing, oppressive, and abusive communications by these DEFENDANTS
in violation of numerous and multiple provisions of the FDCPA and RFDCPA, including
but not to limited to violated Califomia Civil Code Section 1788.17 by violating 15
U.S.C Section , 1692 (b)(3), 1692 d, 1692 d (5), 1692 e, and 1692 f. D`EFENDANTS
also violated Califomia Civil Code Section l788.ll (d), and l788.l l(e).

The acts and omissions of the individual DEFENDANTS, and the other debt collectors
employed as agents by DEFENDANTS who communicated with PLAINTIFF as
described herein, were committed within the time and space limits of their agency
relationship with their principal, DE'FENDANTS.

The acts and omissions by the individual DEFENDANTS and these other debt collectors
were incidental to, or of the same general nature as, the responsibilities these agents were
authorized to perform by DEFENDANTS in collecting consumer debts.

By committing these acts and omissions against PLAINTlI-`FS, the individual
DEFENDANTS and these other debt collectors were motivated to benefit their principal,
DEFENDANTS.

DEFENDANTS are therefore liable to PLAINTIFF through the Doctrine of Respondeat
Superior for the intentional and negligent acts, errors, and omissions done in violation of
state and federal law by its collection employees, including but not limited to violations
of the R.FDCPA, in their attempts to collect this debt from PLAINTIFFS.
DEFENDANTS acted maliciously by repeatedly calling and harassing the PLAINTH~`FS,
even after PLAINTIFFS instructed DEFENDANTS that DEFENDANTS did not have

PLAINTIFFS permission to call their cellular phones. This conduct was intended by the

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DEFENDANTS to cause injury to the PLAINTIFF, and it did cause injury to the

2 PLAINTIFFS. DEFENDANTS conduct was also despicable conduct which was carried
3 on by the DEFENDANTS with a willful and conscious disregard of the rights of the
“ PLAINTIFPS.

29. DEFENDANTS conduct was also oppressive The repeated, harassing phone calls using
abusive and aggressive tactics was despicable conduct that subjected the PLAINTIFFS to
a cruel and unjust hardship in conscious disregard of the PLAINTIPFS rights.

9 30. In committing the acts alleged herein, DEFENDAN'I`S, FIA, and DOES l through 100,

 

10 and each ofthem, have acted maliciously and oppressively. Each of these acts has been
:: ratified and adopted by DEFENDANTS’ ochers, director and managing agents, so as to
13 justify an award of exemplary and/or punitive-damages in an amount to be determined at
14 the time of trial, sufficient to deter DEFENDANTS from engaging in the same conduct in
15 the future.

16 31. PLAINTIFFS have suffered actual damages as a result of these illegal collection

:; communications by these DEFENDANTS in the form of anger, anxiety, deterioration of
19 marriage, emotional distress, sadness, grieving, fear, frustration, embarrassment, amongst
20 other negative emotions, as well as suffering from unjustified and abusive invasions of
21 personal privacy at the PLAINTIFF’ home.

22

23

24 IV. FIRST CAUSE OF ACTION

25 (Violation of the Rosenthal Fair Debt Collection Practices Act Section 1788 - 1788.32)

25 32. PLAINTIPFS incorporate by reference all of the above paragraphs of this Complaint as

27 though fully stated herein

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The foregoing acts and omissions of DEFENDANTS constitute numerous and multiple
violations of the RFDCPA.

As a result of DEFENDANT's violations of the RFDCPA, PLA]NTIFF is entitled to any
actual damages pursuant to Califomia Civil Code § 1788.30(a); statutory damages for a
knowing or willful violation in the amount up to $1,000.00 pursuant to Califomia Civil
Code § l788.30(b); and reasonable attomey’s fees and costs pursuant to Califomia Civil

code § 1788.30(¢) from DEFENDANT.

l V. SECOND. CAUSE OF ACTION
(VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.)
PLAINTIFFS incorporate by reference all of the above paragraphs of this Complaint as
though fully stated herein.
'l`he foregoing acts and omissions of each and every DEFENDANT constitute numerous
and multiple violations of the TCPA including, but not limited to, each and every one of
the above~cited provisions of the TCPA, 47 U.S.C. § 227 et seq., with respect to each
PLAlNTlFI-`S.
As a result of each and every DEI-`ENDANT’s violations of the TCPA, PLAINT.IFFS are
entitled to actual damages pursuant to 47 U.S.C. §227 et seq.; statutory damages in an
amount up to $500.00 for each violation pursuant to 47 U.S.C. §227 et seq.; statutory
damages in an amount up to $1,500.00 for each willful or knowing violation pursuant to
47 U.S.C. §227 et seq.; and, reasonable attomey’s fees and costs pursuant to 47 U.S.C.

§227 et seq. nom each and every DEFENDANT herein.

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Vl. TH]RD CAUSE OF ACTION

2 (INTRUSION)

3 38. PLAINTIFFS incorporate by reference all of the above paragraphs of this Complaint as
though fully stated herein.

39. DEFENDANTS intentionally penetrated PLAIN'I`IFF’s zone of sensory privacy
surrounding him by repeatedly calling him and harassing him.

a 40. PLAINTIFFS had a reasonable expectation of seclusion and solitude at home and at

work which is the primary place where most of these phone calls took place.

10
41 . The 500 + phone calls in less than a year was highly offensive to PLAINTIFF and would

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be highly offensive to a reasonable person.
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15 WHEREFORE, PLAINTH"F prays thatjudgment be entered against DEFENDANTS fort

16 FIRST CAUSE OF ACTICN
:; l. An award of statutory damages of $1,000.00,'pursuant to Califomia Civil Code §
19 l788.30(b), from Defendant and for each Plaintiff;
20 2. An award of costs of litigation and reasonable attorney’s fees, pursuant to Califomia
21 Civil Code § l788.30(c), nom Defendant and for each Plaintiff.
22
23
2 4 SECOND CAUSE OF ACT!ON
25 l. For an award of actual damages pursuant to 47 U.S.C. §227 et seq. against each and
26 every Defendant and for each Plaintiff;
27
23
complaint

Corona v. FIA Card Services, et. al. ~ 9

 

 

 

 

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2. For an award of statutory damages of $l ,500.00 per violation pursuant to 47 U.S.C. §227
2 et seq. against each and every Defendant and for each Plaintifl`;
3 3. For an award of costs of litigation and reasonable attomey's fees pursuant to 47 U.S.C.

§227 et seq. against each and every Defendantand for each Plaintiff;

THIRD CAUSE OF ACTION
a 4. For an award of actual damages against each and every Defendant and for each Plaintiff;

9 5. For an award of emotional distress damages against each and every Defendant and for

10 . .'
each Plamtiff;

11

6. For an award of punitive damages against each and every Defendant and for each
12

13 Plaintitf;
14
15
16 Dated: 8/21/2012 By:
:; Jeffery R. Menard, attorney for PLAINTIFFS
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Superior Court of Califomia
County of San Diego

 

NOTICE OF ASSIGNMENT
TO IMAGING DEPARTMENT

This case has been assigned to an Imaging Department and original documents attached to
pleadings filed with the court will be imaged and destroyed. Original documents should not be
filed with pleadings. If necessary, they should be lodged with the court under Califomia Rules.ol'
Court, rule 3.l302(b).

On August l, 201 l the San Dicgo Superior Court.began thc E|cctronic Filing and imaging Pilot
Program (“Program"). As of August l, 20l l in all new cases assigned to an imaging Department all
filings will be imaged electronically and the electronic version of thc document will be the official
court tilei The official court file will be electronic and accessible at one ot' thc kiosks located.,in thc
Civil Business O'H'ice and on the lntcmct through the court's website. This Program will be expanding
to other civil courtrooms over time.

You should be aware that the electronic copy of the filed document(s) will be the official court
record pursuant to Govemment Code section 68l50. The paper filing will be imagcd and held for
90 days. Aher that time it will be destroyed and recyclcd. Thus, you. should not attach any
original documents to pleadings filed with the San Diego Superior Court. Original documents
ii|ed with the court will be.imaged and destroyed except`those documents specified in
Califomia Rules of Court, rule 3.1806. Any original documents necessary l`or a motion hearing or
trial shall be lodged in advance of the hearing pursuant to Califomia Rules ol` Court, rule 3.1302(b).

lt is the duty of each plaintiff, cross-complainant or petitioner to serve a copy of this notice with
thc complaint, cross-complaint or petition on all parties in the action.

On all pleadings filed after the initial caseoriginating filing, all parties must, to the extent it is
feasible to do so, place the words “IMAGED Fl-LE” in~all"ca'ps immediately under the titleof the
pleading on all subsequent pleadings filed in the action.

Please refer to the General O-rder - lmaging located on the
San Diego Superior Court website_ at:

http:/Iwww.sdcourt.ca.gov/Civi|lmagingGeneralOrder,

Faql: 2

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SU?ER|CR COURT OF CAL|FORN|A, COUNT¥ OF SAN DlEGC
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huth ADDRESS: 320 \‘¢'o¢l Brca»u~ay
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PunNnFFts) l PErrnoNER(s): Frank Antonio corona mt
DEFENDANT(S)/RESP°NDENT(S): FlA cane ssnvlcEs NA

 

 

 

CORONA VS. FIA CARD`SERV|CES NA

 

 

 

 

cAst-: NuMaER:
NoricE oF cAsE AsstcNMENr 37_2012_00102808_¢[,_NF_CTL
Judge: Richard E. L. Strauss Deparlmenl¢ C'75

COMPLA|NT/PETITION FlLED: 08/22/2012

ALL CASES MUST COMPLY WlTH THE ClVlL REQU|_REMENTS LlSTED BELOW,
EXCEFT FOR FARKING ClTATiON APPEALS

 

iT lS THE DUTY'OF EACH PLA'lNT|FF (AND CROSS-COMPLA|NANT) TO SERVEA COPY OF TH|S NOTlCE WlTH
THE COMPLA|NT (AND CROSS-COMPLAINT). THE ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR) lNFORMATlON
FORM (SDSC FORM #ClV-730), A STlPULATlON TO USE ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR) (SDSC
FORM #ClV-359). AND OTHER DOCUMENTS AS SET OUT lN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WiLL BE EXPECTED TO BE FAM|L|AR WlTH SUPER|OR COURT RULES Wi'iiCl'i HAVE BEEN
PUBL|SHED AS DlVlSlON |i, AND WiLL BE STR|CTLY ENFORCED. '

TlME STANDARDS: The following tlmeirames apply to general civil cases and must be adhered to unless you have
requested and been granted an extension of time. General civil cases consist of all civil cases except small
claims proceedings, civil petitions. unlawful detainer proceedings probate. guardianship. conservatorship.
juvenile, and family law proceedings

COMPLA|NTS: Complaints and all other documents listed in'SDSC~ Locai Rule 2.1.5’ must be served on ali named
defendants and a Certitirzio of Servlce (SDSC form #CiV-345) liied within 60 days of tillng.

DEFENDANT`S APPEARANCE: Defendant must generally appear within 30 days oi service of the complaint (Plaintiii
may stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local
Ruie 2.1.6)

DEFAULT: ll the defendant has not generally appeared and no extension has been grantedl the plaintiff must request
default within 45 days of the filing oi` the Certilimte of Service. (SDSC Local Ruie 2.1.7)

CASE MANAGEMENT CONFERENCE: A Case Management Conlerence will be set within 150 days ol filing the
complaint

ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR): THE COURT ENCOURAGES YOU TC CONS|DER UTlLlZ|NG
VAR|OUS ALTERNAT|VES TO TR|AL, lNCLUDlNG MED|AT|ON AND-ARB|TRAT|ON, PRiOR TO`THE C'ASE
MANAGEMENT CONFERENCE. PART|ES MAY FlLE THE ATTACHED STlPULATlON TO USE ALTERNATiV.E
DlSPUTE RESOLUT\ON (SDSC FORM tiClV-$SS).

YOU MAY ALSO BE ORDERED TO PARTlClPATE iN ARB|TRAT|ON. lF THE CASE lS ORDERED T'O ARB|TRATION
PURSUANT TO CODE ClV. PROC. 1411.11, THE COSTS OF ARBiTRATlON WlLL BE PAiD BY THE COURT
PURSUANT TO CODE ClV. PROC. 1141,28.

FOR MORE lNFORMATlON, SEE THE ATTACHED ALTERNAT|VE DlSPUTE RESOLUT\ON (ADR) lNFORMAT|ON
FORM (SDSC FORM #ClV-730)

SDSC civ-721 (Rov. ii~OB) , _ raw \
NOT|CE OF CASE ASS|GNMENT

 

 

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SUPERIOR COURT OF CAL|FORN|A, COUNTY OF SAN DIEGO

ALTERNAT!VE DlSPUTE RESOLUT|ON (ADR) lNFORMATlON

 

CASE NUMBER! 37-20112~00102808-CU-NP-CTL CASE TlTLEZ Corona vs. FIA CARD SERVICESl NA,

NQ_'LLQ§:' All plaintiffslcross-complainants in a general civilcase are required to serve a copy of the'f`oilowing
three forms on each defendant/cross-defendant, together with the complainticross-complalnt:
(1) this Alternatlve Dispute Resolution (ADR) information form (SDSC form #ClV-730).
(2) the Stipulation to Use Aiternatlve Dispute Resolut|on (ADR) form (SDSC form #ClV-$$B), Lrg
(3) the Notice of Case Asslgnment form (SDSC form #ClV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a triai. The courts,
community organizations and private providers offer a variety of Alternative Dispute Resolution (ADR) processes lo help
people resolve disputes without a triai. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial. and it may be beneficial to do this early in the case.

Below'ls' some lnformat|on about the potential advantages and disadvantages of ADR. the most common types of ADR,
and how to find a local-ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #ClV-359).

Pot ti lAd e » Dlsadva a e R
ADR may have a variety of advantages or disadvantages over a triali depending on the type of ADR' process‘used and the
particular case:

Potential Advantages Potentlal Dis'a¢:lvantages

» Saves time » May take more time and money if ADR does not

- Saves money resolve the dispute

~ Gives parties more control over the dispute ~~ Procedures to learn about the other side‘s case (discovery).
resolution process and outcome jury triai, appeel. and other court protections may be limited

- Preserves or improves relationships or unavailable

You can read more information about these ADR processes and watch videos that demonstrate them onthe court's ADR

webpage at mmmmsmud.z.s°_viasl.f

Medlatlon: A neutral person called a l’mediator"helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome. but helps the parties to do so.

~ Mediaiion is usually confidential. and may be particularly useful when parties want or need to have an ongoing

relationship, such as in disputes between family members, neighbors co~worl<ers. or business partners. or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a “settlement officer helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement The judge or settlement omoer does not make a
decision in the case but helps the parties to negotiate a settlement Seltlemenl conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution. ‘

Arbltration: A neutral person called an "arbitrator' considers arguments and evidence presented by each side‘and then
decides the outcome of the dlsp`ute. Arbitralion ls,less formal thana trial. and the rules of'evid'ence are~usually relaxed. if
the parties agree to binding arbitration. they waive their right to a trial andegree to accept the arbitrators decision as finai.
Wilh nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formallty, time. and expense of a trial.

 

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Other ADR Procosses: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation. conciliation, fact linding, mini~tria|s, and summary jury triats. Sometimes
parties will try a combination of ADR processes The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to team about the rules of any ADR program and the qualifications of any
neutral you are considering. and about th'e|r fees.

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Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge 51.50 per hour for each of the first two '(2) hours of mediation
and their regular hourly rate thereafter in court~referred mediations.

Og' -line mediator seajp__h and §ej§gjlgg: Go to the court's ADR webpage at MAQ\_/LL!L and click on the

"Medialor Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty. education and employment history. mediation style,
and fees and to submit an on-iine Mediator Seiection Form (SDSC form #ClV-OOS). The Civil Mediation Panei Listl the
Avallable Mediator List. individual Mediator Pronles, and Mediator Seiection Forrn (ClV-OOS) can also be printed from the
court's ADR webpage and are available at the Mediation Program Otfice or Civil Business Offrce at each court iocation.

Sett|ement Conferonce: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested imm the court if the parties certify lhat: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good failh, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement and (3) the case has developed to a
point where-all parties are legatty and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not.required. Refer to SDSC Locai Rule Lgl for more information. To-schedule a
settlement conference. contact the department to'which your case is assigned

Arbitration: The San‘Dlego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of live years and who have a certain amount of ln'ai and/or arbitration experience Refer to SDSC' Local
Rules Division ijl angt§r itt and Code Civ. Proc. § 1]41,3§ et §_eg or contact the Arbitration Program Oflice at (619)
450-7300 for more information

More igformatjog agggj Qgg$ggggcted ADR: Visit the court's ADR webpage at M,§_ggggmga.ggy[adr or contact the
court‘s MediationlArbilration;Ofiice at (619) 450-7300.

Dlspute Resolution Programs Act (DRFA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (B`us. and Prof. Code §§ 465 et seq.):
- in Central. East, and South San Diego County, contact the National Conflicl Resolution Center (NCRC) al
e or (619) 238»2400. .
- |n North San Diego County, contact North County l.ifeline. lnc. at Me_o_rg or (76`0) 728-4900.

Private ADR: To find a private ADR program or neutral. search the lnternei. your local telephone or business directory,
or legal newspaper for dispute resolution, mediation. settlement or arbitration services.

Le lR rs tatio adAv

To participate effectively ln ADR, lt is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to triai. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. if you do not already have an attorney, the Califomia State Bar or your local County Bar Assoc.iation
can assist you in Gnding an attomey. information about obtaining free and.low cost legal'assistance is also available on

 

the Califomia courts website at MMMML
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erwtcu ama Contral

 

 

PLAtNTlFF(S): Frank Antonio Corona ol.al.

 

DEFENDANT{S): FlA CARD SERV|CES NA

 

SHORT T|TLE: CORONA VS. FiA CARD SERVICES NA

 

 

 

 

 

srlPuLATloN 'ro use ALTERNATNE CASE NUM.BEF~? _
D|SpuTE REsoLu-noN (ADR) 37-2012-00102808~CU*NP-CTL
395991 Richard E. t.. Slrauss Dopartment: C~75

The parties and their attorneys stipulate that the matter is at issue end the claims in this action shall beisubmittod to the following
alternative dispute resolution (ADR) process. Seiection of any of these options will not delay any case management timelines.

[:] Mediation (court~connected) m Non-blnding private arbitration

g Mediation (privato) m Blnding private arbitration

m Voiuntary settlement conference (prlvato) m Non-binding judicial arbitration (dlscovery until 15 days before lrtot)
m Neutral evaluation (privato) g Nonbinding judicial arbitration (dtscovery until 30 days before trief)
m Othor (spocfly o.g.. private mini-trfaf. private iudge, eic):

 

 

lt ls also stipulatedlthat the following shall serve as\orbiirator. mediator or other neutral: {Name)

 

 

 

Ntemate neutral (for court Civil Mediation Program and arbitration oniy):

 

 

 

 

 

 

 

 

 

 

 

Date: Date:

Name of Plalntifi l _ ` Name ot Defendant

Signature Signature

Name of Plaintift's Altomcy Name of Defendanl`s Altorney
Slgnaturo Signaturo

if there a19 more parties and/or attomeys. please attach additional completed and fully executed shoots.

lt is the du ot the simms to notify the court _of any settlement pursuant to Cal. Rules of Court. rule 3.t385. upon notlflcatlon of the settlement
the court place is matter on a ets-day dismissal mlendar.

No now panles»may.bo added without leave bloom

 

 

if lS 50 ORDERED. .
Da_ted: 08/22!2012 JUDGE OF THE SUPERIOR"COURT
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Case 3:12-cV-02322-LAB-.]I\/|A Documentl Filed 09/24/12 Page|D.ZS Page 23 of 26

PR()OF OF SERVICE
STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
I am employed in the County of Los An§elles, State of Califomia. I am over the

age of 18 and not a party to the within action. business address is 355 South Grand
Avenue, Sulte 2900, Los Angeles, Califomia 90 71. -

SS

I am readil familiar wi_th the firm's business practice of collection a_nd processing
correspondence _or mailing w1th the U.S. Postal Service. _Under said practlce,
correspondence ls deposited _wlth the U.S. Postal Servlce 1n the ordmary course of
business on that same day w1th postage thereon _fully pr_e aid. I arn aware that on
motlon of the party,served, servlce is resumed invalid 1 the postal cancellation d_ate or
plos’{age _meter date 1s more than one ay after the date of deposit for malllng m this

ec arat1on.

On Se tember 24, 2012, I served the fore oin document described as: NOTICE
OF REMO AL OF CIVIL ACTION UNDE 28 .S.C. § 1441(b) AND (c) by
having placed a true copy thereof in a sealed envelope addressed as follows:

Jef&e R. Menard, Esq.

350 l th Avenue

Suite 1_000 _ _

S`an Diego, Califomia 92101
Telephone: (858) 240-2566

I deposited such envelope with posta§e thereon prepaid with the United_ States Postal
Service at 355 South Grand Avenue, uite 2900,, Los Angeles, Califomia

I am employed in the office of a member of the bar at whose direction service
was effected. '

 

Executed on September 24, 2012, at Los Angeles, California.
Charles Koster m w
Ty‘pe or Print Name

 

 

 

.Case 3:12-cv-02322-LAB-.]I\/|A Documentl Filed 09/24/12 Page|D.24 Page 24 of 26

is 44 ckw. 09/11) CIVIL COVER)SHEET

The JS 44 civil cover sheet and the infom\ation contained herein neither re lace nor su plement t he filing and service of leadin s or other a crs as le 1 d b l t d d
by local rules of court This form, approved by the Judicia| Conferenee o the United states in S: ' tember 1974 s re uiped fo t f t p l rk m y Bw cxccp as pr`o'v, c
the Clvil docket Sh¢e!. (SEE IN.S'I`RUCT/ONS ON NI;Xl`PAGE OI" TI'IIS F()RM.) p .,../j q 1 r c use o c c c °f%oun forum purpose ormitiming

1. (a) PLA1NT1FFS DEFENDANTS

Frank Antonio Corona, Rosa|ie J. Corona, and Francesa Coronal-Z"n S_l':P 3'~'|1¢\ dalia Sla?v§d;_, N. A. 1 zcv 2 3 2 2 LAB JMA

._=-»-ll .L.§i?t 1.€1 Dl*TRlZT.C§)
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iego. Califomia 92101 Los Angeles. Califomia 90071
_, ~ 40-2566 _ 213-457-8000
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Citizen or Subject ofa U 3 C| 3 Foreig'l Nan'on
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D 220 Foreclosure D 441 Voting Sentenco or Defmdm'lt) Agmey Decision
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A||egg.s violation of the Telephone Consumer Protection Act by Defendant
Vll. REQUESTED IN 0 cHECK 1F Tnls ls A cLAss AchoN DEMAND $ CHECK YES only ifdemand¢d m Complam\¢
COMPLAINT: UNDER F~R~C~P. 23 JuRY oEMANm al Y¢s 13 No
Vlll. RELATED CASE(S) _
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09/24I2012

 

FOR OFFICF SE ONL

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1-‘ ~Case 3:12-cv-02322-LAB-.]I\/|A Documentl 1Filed09/24/12 Page|D.25 Page 25 of 26

PROOF OF SERVICE
STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

I am employed in the Coun%u_ofLo_s An eles, State of Califor_nia. I am over the
age of 18 and not a party to the wi n.actio_n. business address is 355 South Grand
Avenue, Suite 2900, Los Angeles, Califomia 90 71.

I am readil familiar wi_th the firm's business practice of collection and processing
correspondence _or mailing with the U.S. Postal Service. Under said practice,
correspondence is deposited _with the U.S. Postal Service in the ordinary course of
business on that same day w1th postage thereon fully pre aid. I am aware that on
motion of the party _served, service is resumed invalid i the postal cancellation date or
pios{age _rneter date is more than one ay after the date of deposit for mailing in this

ec aration.

On Se tember 24, 2012, I served the fore oing document described as: CIVIL
y C(%\IIER S ET by having placed a true copy ereof in a sealed envelope addressed
as o ows:

SS

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l 1
Jeffre R. Menard, Esq.
12 350 l th Avenue
Suite 1000 _ _
13 San Diego, Califomia 92101
14 Telephone: (858) 240-2566

I deposited such envelope with postagse thereon prepaid with the U_nited_ States Postal
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G\(J\

I am employed in the office of a member of the bar at whose direction service
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Executed on September 24, 2012, at Los Angeles, Califomia.

Charles Koster W ijl/l \

Type or Print Name

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Case 3:12-cV-02322-LAB-.]I\/|A Documentl Filed 09/24/12

 
  
   
    
   
    
  
   

Court Name: USDC California Southern
Division: 3

Receipt Number: CASO42881

Cash\er ID: mba1n

Transaction Date: 09/24/2012

Payer Name: SAN DIEGO LEGAL SUPPORT SVCS

 

CIVIL FILING FEE

For: CORONA V FIA CARD SERVICES
Case/Party: D~CAS-B-\Z-CV-OOZSZZ-OO\
Amount: $350.00 ,/

____ ____ /

CHECK
Dheck/Money Urder Num: 114328
Amt Tendered: $350.00

 

Total Due: $350.00
YOta\ Tendered: $350.00
Change Amt: $0.00

There w1l\ be a fee of $53.00
charged for any returned check.

PaQ€|D-Z€ Page 26 of 26

